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                              THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DVISION

                                          DATE 4/24/2023

DISTRICT JUDGE                                      COURT REPORTER: Chris Bickham
Amos L. Mazzant, III                                COURTROOM DEPUTY: Keary Conrad
    UNITED STATES OF AMERICA

                                                      CASE NUMBER 4:20CR212
    V.

    DEBRA MERCER-ERWIN (1)


    ATTORNEY FOR GOVERNMENT                           ATTORNEY FOR DEFENDANT
    Ernest Gonzalez, Heather Rattan and Lesley        Matthew Cyran, Joe White, Kate White
    Brooks, AUSA

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

   TIME:         MINUTES: Jury Trial – Day 9
   8:20 a.m.     Court in session. Court notes appearance of counsel.
   8:20 a.m.     Court regarding proffer issue advises that the proffer statements will be allowed.
   8:30 a.m.     Court hears argument from Defendant’s counsel, Joe White regarding veracity of proffer
                 and which statements can be used or not used in front of jury.
   8:39 a.m.     Witness Agent Mack is reminded he is still under oath. Defendant’s counsel, Joe White
                 continues cross examination of Agent Mack.
   8:44 a.m.     Defendant’s counsel offers Defendant’s Exhibit 1C. Government objection to hearsay.
   9:55 a.m.     Defendant’s counsel, Joe White offers Defendant Exhibit 2E (pgs 1-10). Defendant’s
                 exhibit 2E is admitted.
   10:07 a.m.    Defendant’s counsel, Joe White moves for the admission of Government Exhibit 57C.
                 No objection. Government Exhibit 57C is admitted.
   10:15 a.m.    Jury excused. Court recess for break.
   10:31 a.m.    Court re-convened. Jury seated.
   10:31 a.m.    Defendant’s counsel, Joe White continues cross examination of Special Agent Mack.
   10:55 a.m.    Pass the witness. Bench conference.
   10:57 a.m.    Government AUSA Lesley Brooks begins re-direct examination of Special Agent Mack.
   11:23 a.m.    Bench conference at request of Defendant’s counsel, Joe White.
   11:24 a.m.    Government AUSA Lesley Brooks begins re-direct examination of Special Agent Mack.
   11:45 a.m.    Jury recess for lunch. Court recess for lunch.
   12:45 p.m.    Court re-convened. Jury seated.
   12:46 p.m.    Government AUSA Lesley Brooks continues re-direct examination of Special Agent
                 Mack.
   1:10 p.m.     Pass the witness. Defendant’s counsel, Joe White begins re-cross examination of Special
                 Agent Mack.
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1:11 p.m.   Bench conference at request of Defendant’s counsel.
1:12 p.m.   Court instructs the jury regarding interview and 10 days for it to be brought up was
            because of the Court only authorizing the information to be used today.
1:13 p.m.   Defendant’s counsel, Joe White continues re-cross examination of Special Agent Mack.
1:34 p.m.   Bench conference at request of Government.
1:38 p.m.   Defendant’s counsel, Joe White continues re-cross examination of Special Agent Mack.
1:42 p.m.   Bench conference at request of Defendant’s counsel.
1:42 p.m.   Defendant’s counsel, Joe White continues re-cross examination of Special Agent Mack.
1:49 p.m.   Pass the witness. Witness released, subject to recall.
1:49 p.m.   Government AUSA Ernest Gonzalez calls Special Agent Jesus Villarreal,
            Department of Homeland Security. Witness placed under oath.
1:51 p.m.   Bench conference at request of Defendant’s counsel.
1:53 p.m.   Government AUSA Ernest Gonzalez begins direct examination of Special Agent
            Jesus Villarreal and references a demonstrative powerpoint regarding Sinaloa
            Mexico cartels.
2:11 p.m.   Bench conference at request of Defendant. Defendant objects to powerpoint and request
            that pages be made part of the record since it is only a demonstrative. The Court will
            make the demonstrative part of the record under seal noting defense objection. Objection
            overruled. (Attached, under seal).
2:13 p.m.   Government AUSA Ernest Gonzalez continues direct examination of Special
            Agent Jesus Villarreal.
2:46 p.m.   Bench conference at request of Defendant’s counsel.
2:52 p.m.   Government AUSA Ernest Gonzalez continues direct examination of Special
            Agent Jesus Villarreal.
2:53 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibit 126. Objection
            (bench conference). Objection overruled. Government Exhibit 126 admitted.
2:57 p.m.   Jury excused for break.
2:57 p.m.   Bench conference at request of Defendant’s counsel.
3:00 p.m.   Court recess for 15 minute break.
3:19 p.m.   Court re-convened. Jury seated.
3:20 p.m.   Government AUSA Ernest Gonzalez continues direct examination of Special Agent Jesus
            Villareal.
3:22 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibit 73K. Defendant objects
            as to improper, relevance, foundation, and information contained therein not having been
            admitted. Government offers pursuant to Rule 1006. Court overrules Defendant’s
            objection as Exhibit is a summary. Government Exhibit 73K is admitted.
3:39 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibit 54C. Defendant objects
            to relevance. Court overrules Defendant’s objection. Government Exhibit 54C is
            admitted.
3:53 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 55B, 55C. Defendant
            objects to relevance. Court overrules Defendant’s objection. Government Exhibits 55B
            and 55C are admitted.
3:59 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibit 55J. Defendant takes the
            witness on voir dire. Defendant objects to foundation. Court overrules Defendant’s
            objection. Government Exhibit 55J is admitted.
4:02 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibit 55H. Defendant objects
            to relevance. Court overrules Defendant’s objection. Government Exhibit 55H is
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            admitted.
4:15 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 57B, 57C, 57D.
            Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 57B, 57C, 57D are admitted.
4:21 p.m.   Bench conference.
4:23 p.m.   Government AUSA Ernest Gonzalez continues direct examination.
4:35 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 59B, 59C, 59D, and
            59E. Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 59B, 59C, 59D and 59E are admitted.
4:42 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 60B, 60C, 60D.
            Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 60B, 60C, 60D are admitted.
4:48 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 61B, 61C, 61D.
            Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 61B, 61C, 61D are admitted.
4:51 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 62B, 62C, 62D.
            Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 62B, 62C, 62D are admitted.
4:55 p.m.   Government AUSA Ernest Gonzalez offers Government Exhibits 63B, 63C, 63D.
            Defendant objects to relevance. Court overrules Defendant’s objection. Government
            Exhibits 63B, 63C, 63D are admitted.
5:00 p.m.   Jury excused.
5:01 p.m.   Defendant’s counsel inquires as to next witnesses. Court inquires as to timing.
            Defendant’s counsel advises that he anticipates 3 days. Government requests reciprocal
            discovery, Brady, Jencks, and a witness line-up.
5:03 p.m.   Court adjourned.

            Govt Exhibits Admitted: 54C, 55B, 55C, 55H, 55J, 57B, 57C, 57D, 59B, 59C, 59D,
            59E, 60B, 60C, 60D, 61B, 61C, 61D, 62B, 62C, 62D, 63B, 63C, 63D, 73K, 126
            Demo Only:
            Deft Exhibits Admitted: 2E

                                              DAVID O’TOOLE, CLERK
                                              BY:      Keary Conrad
                                                Courtroom Deputy Clerk
